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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                           UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                     ) Case No. 2:12-CR-0375-TLN
     UNITED STATES OF AMERICA,        )
9                                     ) STIPULATION AND ORDER
              Plaintiff,              ) CONTINUING STATUS
10                                    ) CONFERENCE AND EXCLUDING
         vs.                          ) TIME
11                                    )
     MICHAEL RAY TAYLOR, JR., et al., )
12                                    )
              Defendants.             )
13

14   Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendants, by and through their counsel of record, hereby stipulate as follows:
16
        1. By previous order, this case was set for a Status Conference on June 25,
17

18         2015.
19      2. By this stipulation, all the undersigned Defendants agree to continue the
20
           Status Conference to July 30, 2015, at 9:30 a.m. The parties stipulate to
21

22         exclude time until July 30, 2015, under Local Code T4. Plaintiff does not

23         oppose this request.
24
        3. The parties agree and stipulate and request that the Court find the following:
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      a. The undersigned defense counsel continue to need time to prepare for

2        both a possible trial as well as a resolution by way of written plea
3
         agreement. All counsel have received a new discovery disc.
4
         Additional time is needed for the attorneys to review the new
5

6        materials and to discuss the materials with their respective clients.
7
         Counsel for Mr. Taylor, Jr. needs additional time to discuss a possible
8
         plea resolution with the client.
9

10    b. Counsel for Defendants believe that failure to grant the above-
11
         requested continuance would deny them the reasonable time necessary
12
         for effective preparation, taking into account the exercise of due
13

14       diligence.
15
      c. Due to the need for attorney preparation, the ends of justice served by
16
         continuing the case as requested outweigh the interest of the public
17

18       and the defendants in a criminal trial within the time prescribed by the

19       Speedy Trial Act.
20
      d. For the purpose of computing time under the Speedy Trial Act, 18
21

22       U.S.C. § 3161, et seq., within which trial must commence, the time

23       until July 30, 2015, is deemed excludable pursuant to 18 U.S.C. §
24
         3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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         continuance granted by the Court at defendants’ request on the basis

                                      2
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                of the Court’s finding that the ends of justice served by taking such

2               action outweigh the best interest of the public and the defendant in a
3
                speedy trial.
4
       4. Nothing in this stipulation and order shall preclude a finding that other
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6         provisions of the Speedy Trial Act dictate that additional time periods are
7
          excludable from the period within which a trial must commence.
8
       IT IS SO STIPULATED.
9

10   DATED: June 23, 2015                         /s/ Timothy E. Warriner, Attorney for
                                                  Defendant, Michael Taylor, Jr.
11

12   DATED: June 23, 2015                         /s/ Christopher Cosca, Attorney for
                                                  Defendant, Gregory Martin
13

14   DATED: June 23, 2015                         /s/ Michael Chastaine, Attorney for
                                                  Defendant, Andre Walters
15

16   DATED: June 23, 2015                         /s/ Jared C. Dolan, Assistant
                                                  U.S.Attorney
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18
          IT IS SO ORDERED.
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21   DATED: June 23, 2015
                                                  Troy L. Nunley
22
                                                  United States District Judge
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